       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 1 of 11


                                                   U.S.Departmentof Justice

                                                   ChanningD. Phillips
                                                   Acting United StatesAttorney

                                                   District of Columbia


                                                   Judiciary Center
                                                   555Fourth St.,N.W.
                                                   Washington,D.C. 20530




                                                   May 27,2021

PatrickLeDuc
Law OfficesOf PatrickLeduc,P.A.
4809E. BuschBlvd. Suite204
Tampa,Florida33617
(813)98s-4068
Via E-mail:Patrick.Leduc@ymail.com

                     Re:    UnitedStatesv. PaulA. Hodkgins
                            CriminalCaseNo. 21-cr-188-RDM

DearMr. LeDuc:

        This lettersetsfofth the full andcompletepleaoffer to your client,PaulA. Hodgkins
(hereinafter referredto as o'yourclient" or o'defendant"),from the Office of the UnitedStates
Attorneyfor the Districtof Columbia(hereinafter     alsoreferredto as ootheGovernment"or "this
Office"). This pleaoffer expireson June1,2021. If your clientacceptsthe termsandconditions
of this offer,pleasehaveyour clientexecutethis documentin the spaceprovidedbelow. Upon
receiptof the executeddocumento    this letterwill becomethe PleaAgreement(hereinafter
referredto as"this Agreement").The termsof the offer areas follows:

       l.     Chargesand Statutorv Penalties

      Your clientagreesto pleadguilty to CountOne in the Indictment,chargingyour client
with Obstruction
               of an OfficialProceeding, in violationof 18U.S.C.$ 1512(c)(2).

        Your clientunderstands thata violationof 18U.S.C.$ 1512(c)(2) carriesa maximum
sentence of 20 yearsof imprisonment;a fine of $250,000or twice the pecuniarygainor lossof
the offense,pursuantto l8 U.S.C.$$ 3571(bX3),(d); a term of supervised releaseof not more
than3 years,pursuantto l8 U.S.C.$ 3583(bX2);andan obligationto pay any applicableinterest
or penaltieson finesand restitutionnot timely made.

        In addition,your client agreesto pay a specialassessment of $100per felonyconviction
to the Clerk of the United StatesDishict Courtfor the Districtof Columbia. Your clientalso
understands  that,pursuantto 18 U.S.C.5 3572and $ 5E1.2of the United StatesSentencing


                                        PageI of11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 2 of 11




Commission,GuidelinesManual (2018)(hereinafter    "SentencingGuidelines,""Guidelines,"or
"U.S.S.G."),the Courtmay alsoimposea fine that is sufficientto pay the federalgovernmentthe
costsof any imprisonment,term of supervised  release,andperiodof probation.Further,your
clientunderstands that,if your clienthastwo or moreconvictionsfor a crime of violenceor
felonydrugoffense,your clientmay be subjectto the substantially higherpenaltiesprovidedfor
                     statutesandprovisionsof the Sentencing
in the career-offender                                      Guidelines.

       2.     Factual Stipulations

        Your client agreesthat the attached"Statementof Offense"fairly andaccurately
describes your client'sactionsand involvementin the offense(s)to which your client is pleading
guilty. Pleasehaveyour client sign and returnthe Statementof Offenseas a written proffer of
evidence,alongwith this Agreement.

       3.     Additional Charees

        In considerationof your client'sguilty pleato the aboveoffense(s),your clientwill not
be further prosecutedcriminally  by this Office for the conductset forth in the attachedStatement
of Offense.The Governmentwill requestthatthe Courtdismissthe remainingcountsof the
Indictmentin this caseat the time of sentencing.Your clientagreesandacknowledges        that the
chargesto be dismissed  at the time of sentencing were   basedin fact.

       After the entryof your client'spleaof guilty to the offenseidentifiedin paragraph1
above,your clientwill not be chargedwith anynon-violentcriminaloffensein violationof
Federalor Districtof Columbialaw which wascommittedwithin the Districtof Columbiaby
your clientprior to the executionof this Agreementandaboutwhich this Office wasmadeaware
by your clientprior to the executionof this Agreement.However,the UnitedStatesexpressly
reservesits right to prosecuteyour clientfor any crimeof violence,asdefinedin 18 U.S.C.$ l6
andlor22D.C.Code$ 4501,if in factyourclientcommittedor commitssucha crimeof
violenceprior to or afterthe executionof this Agreement.

       4.     SentencingGuidelinesAnalvsis

       Your clientunderstands  that the sentencein this casewill be determinedby the Court,
pursuantto the factorssetforth in 18 U.S.C. $ 3553(a), includinga consideration of the
Sentencing Guidelines.Pursuantto FederalRule of Criminal     Procedure  11(c)(1)(B),andto
assistthe Courtin determiningthe appropriatesentence,   the partiesagreeto the following:

              A.      EstimatedOffenseLevel Under the Guidelines


                                                 Guidelinessectionsapply:
       The partiesagreethatthefollowing Sentencing

              U.S.S.G.5 2J1.2       BaseOffenseLevel                                     l4
                                                                                         a
              U.S.S.G. 5 2Jl .2(b)(2)SubstantialInterference                             J




                                          Page2 of 11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 3 of 11




                                                                         Total          17

       Acceptance
                of Responsibility

          The Governmentagreesthat a 2-levelreductionwill be appropriate,pursuantto U.S.S.G.
$ 3E  1. l, providedthat your clientclearlydemonstrates  acceptance  of responsibility,to the
satisfaction  of the Government,through   your client'sallocution,adherence  to everyprovisionof
this Agreement,and conductbetweenentry of the plea and impositionof sentence.Furthermore,
assumingyour clienthasacceptedresponsibilityas describedin the previoussentence,          the
Governmentagreesthat an additionall-level reductiorrwill be appropriate,     pursuantto U.S.S.G.
$ 3E1.1(b),becauseyour client hasassistedauthoritiesby providingtimely noticeof your
client'sintentionto enter apleaof guilty, therebypermittingthe Governmentto avoidpreparing
for trial andpermittingthe Courtto allocateits resources   efficiently.

       Nothing in this Agreementlimits the right of the Governmentto seekdenial of the
adjustment  for acceptance of responsibility,pursuantto U.S.S.G.$ 3E1.1,and/orimpositionof
an adjustmentfor obstructionofjustice,pursuantto U.S.S.G.$ 3C1.1,regardless      of any
agreement  setforth above,shouldyour clientmove    to withdrawyour  client's guilty pleaafterit
is entered,or shouldit be determinedby the Governmentthat your clienthaseither(a) engaged
in conduct,unknownto the Governmentat thetime of the signingof this Agreement,that
constitutesobstructionofjustice, or (b) engagedin additionalcriminalconductaftersigningthis
Agreement.

                   with the above.the EstimatedOffenseLevelwill be at least14.
       In accordance

              B.     EstimatedCriminal History Category

      Baseduponthe informationnow availableto this Office (includingthe Pre-PleaCriminal
                                  by the defense),
HistoryCalculationandrepresentations              your clienthasno criminalconvictions.

       If your client is a known foreignnational,U.S.S.G.$ 4,{1.2(h)providesthat "[s]entences
resultingfrom foreignconvictionsarenot counted,but may be considered   under$4A1.3
(Adequacyof CriminalHistory Category)."

        Accordingly,your client is estimatedto havezerocriminalhistorypointsandyour
client'sCriminalHistory Categoryis estimatedto be I (the"EstimatedCriminalHistory
Category"). Your client acknowledgesthat afterthe pre-sentence investigationby the United
StatesProbationOffice, a differentconclusionregarding your client'scriminalconvictions
and/orcriminalhistorypointsmay be reachedandyour client'scriminalhistorypointsmay
increaseor decrease.

              C.      EstimatedGuidelinesRange

       Basedupon the EstimatedOffenseLevel andthe EstimatedCriminal History Category
                                              Guidelinesrangeis l5 monthsto 21 months
setforth above,your client'sestimatedSentencing

                                         Paee3 ofll
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 4 of 11




(the"EstimatedGuidelinesRange"). In addition,the partiesagreethat,pursuantto U.S.S.G.$
5E1.2,shouldthe Court imposea fine, at Guidelineslevel 14,theestimatedapplicablefine range
is $4,000to $40,000.Your clientreservesthe right to askthe Courtnot to imposeany applicable
fine.

       The partiesagreethat,solelyfor the purposesof calculatingthe applicablerangeunder
the SentencingGuidelines,neithera downwardnor upwarddeparturefrom the Estimated
GuidelinesRangesetforth aboveis warranted,exceptthe Govemmentreservesthe right to
requestan upwarddeparturepursuantto U.S.S.G.$ 3,A1.4, n. 4. Exceptasprovidedfor in the
"Reservationof Allocution" sectionbelow,the partiesalsoagreethat neitherpartywill seekany
offense-level
            calculationdifftrent from the EstimatedOffenseLevel calculatedabovein
subsectionA. However,the partiesarefreeto arguefor a CriminalHistory Categorydifferent
from thatestimatedabovein subsection   B.

       Your client understands andacknowledges    thatthe EstimatedGuidelinesRange
calculatedaboveis not bindingon the ProbationOffice or the Court. Shouldthe Courtor
ProbationOffice determinethat a guidelinesrangedifferentfrom the EstimatedGuidelines
Rangeis applicable,that will not be a basisfor withdrawalor recissionof this Agreementby
eitherparty.

        Your client understands andacknowledges   thatthe termsof this sectionapplyonly to
conductthat occurredbeforethe executionof this Agreement.Shouldyour clientcommitany
conductafterthe executionof this Agreementthat would form the basisfor an increasein your
client'sbaseoffenselevel or justify an upwarddeparture(examplesof which include,but arenot
limitedto, obstructionofjustice, failureto appearfor a courtproceeding, criminalconductwhile
pendingsentencing,   and falsestatements to law enforcement agents,the probationofficer,or the
Court),the Governmentis freeunderthis Agreementto seekan increasein the baseoffenselevel
basedon that post-agreement   conduct.

       5.                             Allocution
              Agreementas to Sentencing

       The partiesfurther agreethat a sentencewithin the EstimatedGuidelinesRangewould
constitutea reasonable sentencein light of all of the factorssetforth in 18U.S.C.$ 3553(a),should
sucha sentence be subjectto appellatereviewnotwithstanding       the appealwaiverprovidedbelow.
However,thepartiesagreethateitherpartymay seeka varianceandsuggestthattheCourtconsider
a sentence outsideof the applicableGuidelinesRange,baseduponthe factorsto be considered       in
imposinga sentence  pursuantto 18 U.S.C.$ 3553,(a).


       6.     Reservationof Allocution

       The Governmentand your clientreservethe right to describefully, bothorally andin
writing,to the sentencingjudge,the natureandseriousness     of your client'smisconduct,
includingany misconductnot describedin the chargesto which your client is pleadingguilty,to
inform the presentence report writer and the Court of any relevantfacts,to disputeany factual
inaccuracies in the presentencereport,andto contestanymattersnot providedfor in this


                                         Pase4 of 11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 5 of 11




Agreement.The partiesalso reservethe right to addressthe correctnessof any Sentencing
Guidelinescalculationsdeterminedby the presentence    reportwriter or the coult, evenif those
calculationsdiffer from the EstimatedGuidelinesRangecalculatedherein. In the eventthat the
Courtor the presentence  reportwriter considersany Sentencing  Guidelinesadjustments,
departures,or calculationsdifferent from thoseagreedto and/orestimatedin this Agreement,or
contemplatesa sentenceoutsidethe Guidelinesrangebaseduponthe generalsentencingfactors
listedin l8 U.S.C.$ 3553(a),the partiesreservethe right to answerany relatedinquiriesfrom
the Court or the presentence reportwriter andto allocutefor a sentencewithin the Guidelines
range,asultimatelydeterminedby the Court,evenif the Guidelinesrangeultimatelydetermined
by the Courtis differentfrom the EstimatedGuidelinesRangecalculatedherein.

        In addition,if in this Agreementthe partieshaveagreedto recommendor refrain from
recommending      to the Court aparticularresolutionof any sentencingissue,the partiesreservethe
right to full allocutionin any post-sentence litigation. The partiesretainthe full right of
allocutionin connectionwith any post-sentence     motion which may be filed in this matter and/or
anyproceeding(s)      beforethe Bureauof Prisons.In addition,your client acknowledges     thatthe
Governmentis not obligatedand doesnot       intend to file any post-sentencedownward    departure
motionin this casepursuantto Rule 35(b)of the FederalRulesof CriminalProcedure.

       7.      Court Not Bound bv this Aqreementor the SentencinsGuidelines

       Your clientunderstands   that the sentence in this casewill be imposedin accordance     with
          g
l8 U.S.C. 3553(a),uponconsideration       of the Sentencing Guidelines.  Your  client further
understands thatthe sentence to be imposedis a mattersolelywithin the discretionof the Court.
Your clientacknowledges   that the Court is not obligatedto follow any recommendation      of the
Govemmentat the time of sentencing.Your clientunderstands        that neitherthe Government's
recommendation   nor the Sentencing   Guidelinesarebindingon the Court.

        Your clientacknowledges that your client'sentryof a guilty pleato the chargedoffense
authorizesthe Court to imposeany  sentence,up to and includingthe statutorymaximum
sentence, which.maybe greaterthanthe applicableGuidelinesrange. The Governmentcannot,
anddoesnotomakeany promiseor representation       asto what sentence   your clientwill receive.
Moreover,it is understoodthat your client will have no right to withdraw  your client'spleaof
guilty shouldthe Court imposea sentence                 the
                                        that is outside Guidelines      range  or if the Court
doesnot follow the Government'ssentencing    recommendation.     The Governmentandyour client
will be boundby this Agreement, regardless of  the sentenceimposed    by the Court. Any effort
by your clientto withdrawthe guilty pleabecauseof   the length  of the sentence shallconstitutea
breachof this Agreement.

       8.      Conditions of Release

        Your clientacknowledges that,althoughthe Governmentwill not seeka changein your
client'sreleaseconditionspendingsentencing,  the final decisionregardingyour client'sbond
statusor detentionwill be madeby the Courtat the time of your client'spleaof guilty. The
Governmentmaymoveto changeyour client'sconditionsof release,includingrequesting         that
your client be detainedpendingsentencing,if your  client engagesin further criminal conduct


                                           Page5 of 11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 6 of 11




prior to sentencing
                  or if the Governmentobtainsinformationthat it did not possess    at the time of
your client'spleaof guilty andthat is relevantto whetheryour clientis likely to flee or posea
dangerto any personor the community. Your clientalsoagreesthat any violationof your
client'sreleaseconditionsor any misconductby your clientmay resultin the Governmentfiling
an ex partemotionwith the Courtrequesting   that a benchwarrantbe issuedfor your client's
arrestandthat your client be detainedwithoutbondwhile pendingsentencingin your client's
case.

       9.     Waivers

              a.      Statufeof Limitations

        Your clientagreesthat,shouldthe convictionfollowing your client'spleaof guilty
pursuantto this Agreementbe vacatedfor any reason,anyprosecution,     basedon the conductset
forth in the attachedStatementof Offense,that is not time-barredby the applicablestatuteof
limitationson the dateof the signingof this Agreement(includingany countsthat the
Govemmenthasagreednot to prosecuteor to dismissat sentencing       pursuantto this
Agreement)may     be commencedor reinstated   againstyour client,notwithstanding the expiration
of the statuteof limitationsbetweenthe signingof this Agreementandthe commencement         or
reinstatement  of suchprosecution.It is the intentof this Agreementto waive all defenses  based
on the statuteof limitationswith respectto any prosecution  of conductsetforth in the attached
Statement  of Offensethat is not time-barredon the datethatthis Agreementis signed.

              b.      Trial Rights

         Your clientunderstands  that by pleadingguilty in this caseyour client agreesto waive
certainrightsaffordedby the Constitutionof the UnitedStatesand/orby statuteor rule. Your
clientagreesto foregothe right to any furtherdiscoveryor disclosures    of informationnot already
providedat the time of the entryof your client'sguilty plea. Your clientalsoagreesto waive,
amongotherrights,the right to pleadnot guilty, andthe right to a jury trial. If therewerea jury
trial, your clientwould havethe right to be represented  by counsel,to confrontandcross-
examinewitnessesagainst     your  client,to challengethe admissibilityof evidenceofferedagainst
your client,to compelwitnessesto appearfor the purposeof testifyingandpresentingother
evidenceon your client'sbehalf,andto choosewhetherto testify. If therewere ajury trial and
your clientchosenot to testify atthattrial, your clientwould havethe right to havethejury
instructedthat your client'sfailureto testifycouldnot be heldagainstyour client. Your client
would furtherhavethe right to havethejury instructedthat your client is presumedinnocent
until provenguilty, andthat the burdenwould be on the UnitedStatesto proveyour client'sguilt
beyonda reasonable     doubt. If your clientwerefoundguilty aftera trial, your clientwould have
the right to appealyour client'sconviction.Your clientunderstands    that the Fifth Amendmentto
the Constitutionof the United Statesprotectsyour clientfrom the useof self-incriminating
statements   in a criminalprosecution.By enteringa pleaof guilty, your client knowinglyand
voluntarilywaivesor givesup your client'sright againstself-incrimination.

      Your clientacknowledges discussingwith you Rule I l(f) of the FederalRulesof
CriminalProcedureand Rule 410 of the FederalRulesof Evidence,which ordinarilylimit the


                                          Page6 of 11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 7 of 11




admissibilityof statements  madeby a defendantin the courseof pleadiscussions
                                                                            or plea
proceedings if a guilty plea is laterwithdrawn. Your clientknowinglyandvoluntarilywaivesthe
rightsthatariseundertheserulesin the eventyour clientwithdrawsyour client'sguilty pleaor
withdrawsfrom this Agteementaftersigningit.

       Your clientalsoagreesto waiveall constitutional andstatutoryrightsto a speedy
sentence andagreesthat the pleaof guilty pursuantto this Agreementwill be enteredat a time
decideduponby the partieswith the concurrence of the Court. Your clientunderstands  thatthe
datefor sentencingwill be setby the Court.

       c.     AppealRighfs

        Your clientagreesto waive,insofarassuchwaiveris permittedby law, the right to
appealthe convictionin this caseon any basis,includingbut not limitedto claim(s)that (1) the
         to which your client is pleadingguilty is unconstitutional,
statute(s)                                                            and(2) the admittedconduct
doesnot fall within the scopeof the statute(s).Your clientunderstands     that federallaw,
specifically18 U.S.C.5 3742,affordsdefendants     the right to appealtheir sentences  in certain
circumstances.  Your client alsoagreesto waivethe right to appealthe sentencein this case,
includingbut not limitedto any term of imprisonmento    fine, forfeiture,awardof restitution,term
or conditionof supervised   release,authorityof the Courtto setconditionsof release,andthe
mannerin which the sentence    was determined,  exceptto the extentthe Court sentences    your
clientabovethe statutorymaximumor guidelinesrangedeterminedby the Court. In agreeingto
this waiver,your client is awarethat your client'ssentence   hasyet to be determinedby the
Court. Realizingthe uncertaintyin estimatingwhat sentence      the Court ultimatelywill impose,
your clientknowinglyand willingly waivesyour client'sright to appealthe sentence,       to the
extentnotedabove,in exchangefor the concessions      made  by the Govemmentin this Agreement.
Notwithstanding  the aboveagreement    to waivethe right to appealthe convictionand sentence,
your clientretainsthe right to appealon the basisof ineffectiveassistance   of counsel,but not to
raiseon appealotherissuesregardingthe     conviction or  sentence.

              d.      Collateral Attack

       Your clientalsowaivesany right to challengethe convictionenteredor sentence  imposed
underthis Agreementor otherwiseattemptto modify or changethe sentence    or the mannerin
which it wasdeterminedin any collateralattack,including,but not limitedto, a motionbrought
under28 U.S.C.I 2255or FederalRule of Civil Procedure60(b),exceptto the extentsucha
motionis basedon newly discoveredevidenceor on a claimthat your client receivedineffective
assistanceof counsel.Your clientreservesthe right to file a motionbroughtunderl8 U.S.C.
$ 3582(c)(2),but agreesto waivethe right to appealthedenialof sucha motion.

       10.    Use of Self-IncriminatingInformation

        The Governmentand your clientagree,in accordance    with U.S.S.G.$ l Bl .8,thatthe
Government  will be freeto useagainstyour clientfor any purposeat the sentencing in this case
or in anyrelatedcriminalor civil proceedings,any self-incriminatinginformationprovided   by
your clientpursuantto this Agreementor duringthe courseof debriefingsconductedin


                                          Page7 of 11
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 8 of 11




anticipationof this Agreement,regardlessof whetherthosedebriefingswerepreviouslycovered
by an "off the record"agreement by the parties.

       11.    Restitution


        Your clientacknowledges     that the riot that occurredon January6,2021, causedasof May
17,2021,approximately       $1,495,326.55  damageto the UnitedStatesCapitol. Your clientagrees
as part of the plea in this matterto pay restitutionto the Departmentof Treasuryin the amountof
$2,000.

        Paymentsof restitutionshallbe madeto the Clerk of the Court. In orderto facilitatethe
collectionof financialobligationsto be imposedin connectionwith this prosecution,  your client
agreesto disclosefully all assetsin which your clienthasany interestor over which your client
exercises control,directlyor indirectly,includingthoseheldby a spouse,nomineeor otherthird
party. Your clientagreesto submita completedfinancialstatement     on a standardfinancial
disclosureform which hasbeenprovidedto you with this Agreementto the FinancialLitigation
Unit of the UnitedStatesAttorney'sOffice,as it directs.If you do not receivethe disclosure
form, your clientagreesto requestone from usadc.ecfflu@usa.doj.gov.     Your clientwill
completeandelectronicallyprovidethe standardfinancialdisclosureform to
usadc.ecfflu@usa.doj.gov   30 daysprior to your client'ssentencing.Your client agreesto be
contacted by the FinancialLitigationUnit of the UnitedStatesAttomey'sOffice,through
defensecounsel,to completea financialstatement.Uponreview,if thereareany follow-up
questions, your clientagreesto cooperatewith the FinancialLitigationUnit. Your client
promisesthatthe financialstatement   anddisclosures  will be complete,accurateandtruthful,and
understands that any willful falsehoodon the financialstatement could be prosecutedasa
separate crimepunishable   underl8 U.S.C.$ 1001,whichcarriesan additionalfive years'
incarcerationand a fine.

       Your clientexpresslyauthorizesthe UnitedStatesAttorney'sOffice to obtaina credit
reporton your clientin orderto evaluateyour client'sability to satisfyany financialobligations
imposedby the Courtor agreedto herein.

        Your clientunderstands andagreesthatthe restitutionor finesimposedby the Courtwill
be dueandpayableimmediatelyandsubjectto immediateenforcement           by the UnitedStates.If
the Courtimposesa scheduleof payments,your clientunderstands       thatthe scheduleof payments
is merelya minimumscheduleof paymentsandw.ill not be the only method,nor a limitationon
the methods,availableto the UnitedStatesto enforcethe criminaljudgment,includingwithout
limitationby administrativeoffset. If your client is sentenced
                                                             to a term of imprisonmentby the
Court,your client agreesto participatein the Bureauof Prisons'InmateFinancialResponsibility
Program,regardless  of whetherthe Courtspecificallyimposesa scheduleof payments.

        Your client certifiesthat your clienthasmadeno transferof assetsin contemplation
                                                                                       of
this prosecutionfor the purposeof evadingor defeatingfinancialobligationsthat arecreatedby
this Agreementand/orthat may be imposedby the Court. In addition,your clientpromisesto



                                        Page8 of 1l
       Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 9 of 11




makeno suchtransfersin the futureuntil your clienthasfulfilled the financialobligationsunder
this Agreement.


       12.    Breach of Agreement

        Your clientunderstands    andagreesthat,if afterenteringthis Agreement,your clientfails
specificallyto performor to fulfill completelyeachandeveryoneof your client'sobligations
underthis Agreement,or engagesin any criminalactivityprior to sentencing,     your clientwill
havebreached   this Agreement.In the eventof sucha breach:(a) the Governmentwill be free
from its obligationsunderthis Agreement;(b) your clientwill not havethe right to withdrawthe
guilty plea;(c) your client will be fully subjectto criminalprosecutionfor any othercrimes,
includingperjuryandobstructionofjustice; and(d) the Governmentwill be freeto useagainst
your client,directlyand indirectly,in any criminalor civil proceeding, all statementsmadeby
your clientandany of the informationor materialsprovidedby your client,includingsuch
statements, informationandmaterialsprovidedpursuantto this Agreementor duringthe course
of any debriefingsconductedin anticipationof, or afterentryof, this Agreement,whetheror not
the debriefingswerepreviouslycharacterized     as"off-the-record"debriefings,and includingyour
client'sstatements  madeduringproceedings     beforethe Courtpursuantto Rule I 1 of the Federal
Rulesof CriminalProcedure.

       Your clientunderstands andagreesthatthe Govemmentshallbe requiredto provea
breachof this Agreementonly by a preponderance   of the evidence,exceptwheresuchbreachis
basedon a violationof federal,state,or localcriminallaw, which the Governmentneedprove
only by probablecausein orderto establisha breachof this Agreement.

       Nothingin this Agreementshallbe construed    to permityour clientto commitperjury,to
makefalsestatementsor declarations,to obstructjustice, or to protectyour client from
prosecutionfor any crimesnot includedwithin this Agreementor committedby your clientafter
the executionof this Agreement.Your clientunderstands    andagreesthat the Government
reservesthe right to prosecuteyour clientfor any suchoffenses.Your client furtherunderstands
that anyperjury;falsestatements or declarations,or obstructionofjustice relatingto your client's
obligationsunderthis Agreementshallconstitutea breachof this Agreement.In the eventof
sucha breach,your client will not be allowedto withdrawyour client'sguilty plea.

       13.    Complete Agreement

       No agreements,                         or representations
                       promises,understandings,                 havebeenmadeby the
partiesor their counselotherthanthosecontainedin writing herein,nor will any such
agreements, promises,understandings,or representationsbe madeunlesscommittedto writing
andsignedby your client,defensecounsel,andan AssistantUnitedStatesAttorneyfor the
Districtof Columbia.

                                    that this Agreementis bindingonly uponthe Criminal
       Your client furtherunderstands
and SuperiorCourtDivisionsof the UnitedStatesAttorney'sOffice for the District of Columbia.
This Agreementdoesnot bind the Civil Divisionof this Office or any otherUnitedStates


                                         Page9 ofll
      Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 10 of 11


 t




Attorney's Office, nor doesit bind any other state,local, or federalprosecutor.It also doesnot
bar or compromiseany civil, tax, or administrativeclaim pendingor that may be madeagainst
your client.

       If the foregoingterms and conditionsare satisfactory,your client may so indicateby
signingthis Agreementand the Statementof Offenseoandreturningboth to me no laterthan June
1,2021.

                                                   Sincerelyyours,




                                                   ChanningE.Phillips
                                                   Actins ITnitedStatesAttornev



                                            By:
                                                   Mona Sedky
                                                   SpecialAssistantUnited StatesAttorney




                                         Pagel0 of11
      Case 1:21-cr-00188-RDM Document 22 Filed 06/02/21 Page 11 of 11




                             DEFENDANT'S ACCEPTANCE

       I havereadeverypageof this Agreementandhavediscussed      it with my attorney,Patrick
LeDuc. I fully understand this Agreementandagreeto it without reservation.I do this
voluntarilyandof my own freewill, intendingto be legallybound. No threatshavebeenmade
to me nor am I underthe influenceof anythingthat couldimpedemy ability to understand  this
Agreementfully. I am pleadingguilty becauseI am in factguilty ofthe offense(s)identifiedin
this Agreement.

        I reaffirmthat absolutelyno promises,agreements,understandings,
                                                                      or conditionshave
beenmadeor enteredinto in connectionwith my decisionto pleadguilty exceptthosesetforth
in this Agreement.I am satisfiedwith the legalservicesprovidedby my attorneyin connection
with this Agreementand mattersrelatedto it.




                                   PaulA.



                          ATTORNEY'S ACKNOWLEDGMENT

        I havereadeverypageof this Agreement,reviewedthis Agreementwith my client,Paul
A. Hodgkins,andfully discussed   the provisionsof this Agreementwith my client. Thesepages
accuratelyandcompletelysetforth the entireAgreement.I concurin my client'sdesireto plead
guilty as setforth in this Agreement.




                                   Attorney for Defendant




                                       P a g e1 1o f 1 1
